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                                                                                         DEC 15 202\
                              UNITED STATES DISTRICT COURT                              U s DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI                             EASTERN DISTRICT OF MO
                                                                                              ST. LOUIS
                                    EASTERN DIVISION

 UNITED STATES OF AMERICA,                           )
                                                     )
       Plaintiff,                                    )
                                                     )
 V.                                                  )
                                                     )
                                                             4:21CR00697 SRC/DDN
 DANIEL BERT,                                        )
                                                     )
       Defendant                                 '   )

                                          INDICTMENT

                                              COUNTI

       The Grand Jury charges that:

At all times pertinent to the charges in this indictment:

       1.      Federal law defined the term

       ~a)     "minor" to mean any person under the age ofeighteen years (18 U.S.C. §

2256(1));

       (b)     "sexually explicit conduct" to mean actual or simulated--

               (i)      sexual intercourse, including genital-genital, anal-genital, oral-genital,
                                                                                   r

               oral-anal, whether between persons of the same or opposite sex,

               (ii) .   bestiality,

               (iii)    masturbation,                                     /




               (iv)     sadistic or masochistic abuse, or

               (v)      lascivious exhibition of the anus, genitals, or pubic area of any person (18

               U.S.C. §2256(2)(A));
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              -(c)    ."computer" to mean an electronic, magnetic, optical, electrochemical or other high

,       speed data processing device performing logical, arithmetic Qr storage functions, including any

        data storage facility or communications facility directly related to or operating in conjunction

        with such device. (18 U.S.C. § 2256(6));

                (d)    "childipornogr:aphy" to mean any visual depiction, including any photograph,

        film, video, picture, or computer or computer-generated image or picture, wheth~r made or1

        prodµced by electronic, mechanical, or other means, of sexually ~xplicit conduct, where--
                                              -                          I

                       (A)     the production of such visual depiction involves the use of a minor
                                                         )

                                                     '
                       engaging in sexually explicit conduct; or

                       (C)     such visual depiction has been created; adapted, or modified to appear that
                                          I

                       an identifiable minor is engaging in sexually explicit conduct. (18 U.S.C.

                       §2256(8)).

               2. , - The "Internet" was, and is, a computer communications
                                                                         I
                                                                            network using interstate

    . and foreign vnes to ~ransmit data streams, including data streams used to store, transfer and

    · receive graphic files.

              ,-3.     'on or about October B, 2020, within the Eastern District of Missouri, aRd

        elsewhere,
                                                                                           /
                                                  DANIEL BERT,
                                                                                                             \

        th~ defendant herein, did knowingly transport images of child pornography using any means or

        facility of interstate and foreign_ commerce or in or affecting interstate or foreign commerce by

        any means, that is, the defendant transported graphic image and video files using a Macbook Pro
    1


        Al 706 computer and the Internet, which contained child pornography, including, but not limited
                                                                 (
        t0, the following:
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                                                         /



       a.      "Toddler Boy - 3YO Boy Dad Sexed04.mv" :- a graphic video file that depicts, in

part, a minor male manipulating his penis and holding an ·adult penis;                             (
                                                                    (

       b.      "Man 9herishes A 9yo Boy_05 .avi" - a graphic video file that depicts, in part, a

nude minor m~e laying on a bed manipulating his penis and a set of hands rubbing his nude body;

and

       c.      "Video Oct 03, 2 02 42 AM.mp4" - a graphic video file that depicts, in part, a nude

toddler aged minor male wit_h an adult male putting the minor's penis in his mouth.

       In violation of Title 18, United States Code, Section 2252A(a)(l) ..

                                     FORFEITURE ALLEGATION

       The Grand Jury further· finds by probable cause that:

        1.     Pursuant to Title 18, United States Code, Section 2253, upon conviction of an

offense in violation of Title 18, United States Code, Sections 2252A(a}(l), as set forth in Count I

of the Indictment, the defendant shall forfeit to the United States of Americ~: any visual depiction

as described in Sections 2251, 2251A~ 2252, 2252A or 2260 of Title 18, or any book, magazine,
                                          '
periodical, film, videotape, or other matter which contains any such visual depiction, which was ·
                       -                        -·
                                      (
produced, transported, mailed, shipped or received in violation of Chapter 110 of Title 18; any

property, real or personal, constituting or traceable to gross profits or other proceeds obtained from

such offense; and any property, real or personal, used or intended to be used to commit or to

promote the commission of such offense or any property traceable to such property.

       2.      If any of the property described above, as a result of any act or omission of the

defendant:

               a.          cannot be located upon the exercise of due diligence;

               b.          has been transferred or sold to, or deposited with, a third party;
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                 C.     has been placed beyond the jurisdiction of the court;
                                                                              I

                 d.     has been substantially diminished in value; or

                 e.     has been commingled with other property which -cannot be divided

                        without difficulty,

- the United States of America will be entitled to the forfeiture of substitute property pursuant to

 Title 21, United States Code, Section 853(p).

                                                        A TRUE BILL.




                                                        FOREPERSON

 SAYLER A. FLEMING
 United States Attorney



 KYLE T. BATEMAN, #996646 (DC)
 Assistant United-States Attorney

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